     Case 3:20-cv-00515-MMD-WGC Document 26 Filed 10/26/20 Page 1 of 4




 1 THE O’MARA LAW FIRM, P.C.
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 3 Telephone: 775/323-1321
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 4
   Attorneys for Plaintiffs
 5
                            UNITED STATES DISTRICT COURT
 6                               DISTRICT OF NEVADA

 7 PROTECT OUR GIRLS, a Committee for               )    Case No. 3:20-cv-00515-MMD-WGC
   Political Action (PAC) Advocating Passage,       )
 8 and MELISSA CLEMENT, an individual,              )
                                                    )
 9                            Plaintiffs,           )
                                                    )    STIPULATION FOR DISMISSAL WITH
10    v.                                            )              PREJUDICE
                                                    )
11    BARBARA CEGAVSKE in her official              )           AND ORDER THEREON
      capacity as Nevada Secretary of State,        )
12    JOSEPH P. GLORIA in his official capacity as )
      Clark County Registrar of Voters, DEANNA )
13    SPIKULA in her official capacity as Washoe )
      County Registrar of Voters, KRISTINA          )
14    JAKEMAN in her official capacity as Elko      )
      County Clerk, SADIE SULLIVAN in her           )
15    official capacity as Lander County Clerk,     )
      LACEY DONALDSON in her official capacity )
16    as Pershing County Clerk-Treasurer,           )
      VANESSA STEVENS in her official capacity )
17    as Storey County Clerk-Treasurer, NICHOLE )
      BALDWIN in her official capacity as White )
18    Pine County Clerk, SANDRA MERLINO in )
      her official capacity as Nye County Clerk,    )
19    TAMMI RAE SPERO in her official capacity )
      as Humboldt County Clerk, KATHY LEWIS )
20    in her official capacity as Douglas County    )
      Clerk-Treasurer, LINDA ROTHERY in her         )
21    official capacity as Churchill County Clerk-  )
      Treasurer, LACINDA ELGAN in her official )
22    capacity as Esmeralda County Clerk-Treasurer, )
      LISA C. LLOYD in her official capacity as     )
23    Lincoln County Clerk, LISA HOEHNA in her )
      official capacity as Eureka County Clerk,     )
24    CHRISTOPHER NEPPER in his official            )
      capacity as Mineral County Clerk-Treasurer, )
25    NIKKI BRYAN in her official capacity as       )
      Lyon County Clerk-Treasurer, and AUBREY )
26    ROWLATT in her official capacity as Carson )
      City Clerk-Recorder,                          )
27                                                  )
                                                    )
28            Defendants.                           )

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     Case 3:20-cv-00515-MMD-WGC Document 26 Filed 10/26/20 Page 2 of 4




 1          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs and Defendants, by and through their

 2 respective counsel, hereby stipulate to dismiss of all claims in this action with prejudice. Each party

 3 shall bear its own attorney fees and costs.

 4 DATED: October 26, 2020                            O’MARA LAW FIRM, P.C.

 5

 6                                                                   /s/ David C. O’Mara
                                                                DAVID C. O’MARA, ESQ.
 7                                                    311 East Liberty Street
                                                      Reno, NV 89501
 8                                                    Telephone: 775/323-1321
                                                      775/323-4082 (fax)
 9                                                    Attorneys for Plaintiffs

10
      DATED: October 26, 2020                         OFFICE OF THE DISTRICT ATTORNEY,
11                                                    CLARK COUNTY

12

13                                                                  /s/ Mary-Anne Miller
                                                               MARY-ANNE MILLER, ESQ.
14                                                    500 S. Grand Central Parkway
                                                      Las Vegas, NV 89106
15                                                    Telephone: 702/455-4761
                                                      Attorneys for Defendant Clark County Registrar
16                                                    of Voters Joseph P. Gloria

17 DATED: October 26, 2020                            OFFICE OF THE DISTRICT ATTORNEY,
                                                      WASHOE COUNTY
18

19
                                                                     /s/ Herbert B. Kaplan
20                                                              HERBERT B. KAPLAN, ESQ.
                                                      1 S. Sierra Street
21                                                    Reno, NV 89501
                                                      Telephone: 775/337-5700
22                                                    Attorneys for Defendant Washoe County
                                                      Registrar of Voters Deanna Spikula
23

24

25

26

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     Case 3:20-cv-00515-MMD-WGC Document 26 Filed 10/26/20 Page 3 of 4




 1 DATED: October 26, 2020                MARQUIS AURBACH COFFING

 2

 3                                                        /s/ Brian R. Hardy
                                                      BRIAN R. HARDY, ESQ.
 4                                        10001 Park Run Drive
                                          Las Vegas, NV 89145
 5                                        Telephone: 702/382-0711
                                          Attorneys for Defendants Elko County Clerk
 6                                        Kristina Jakeman, Lander County Clerk Sadie
                                          Sullivan, Pershing County Clerk-Treasurer Lacey
 7                                        Donaldson, Storey County Clerk-Treasurer
                                          Vanessa Stevens, White Pine County Clerk
 8                                        Nichole Baldwin, Nye County Clerk Sandra
                                          Merlino, Humboldt County Clerk Tammie Rae
 9                                        Spero, Douglas County Clerk-Treasurer Kathy
                                          Lewis, Churchill County Clerk-Treasurer Linda
10                                        Rothery, Esmerelda County Clerk-Treasurer
                                          Lacinda Elgan, Lincoln County Clerk Lisa C.
11                                        Lloyd, Eureka County Clerk Lisa Hoehna,
                                          Mineral County Clerk-Treasurer Christopher
12                                        Nepper and Lyon County Clerk-Treasurer Nikki
                                          Bryan
13
      DATED: October 26, 2020             OFFICE OF THE ATTORNEY GENERAL,
14                                        STATE OF NEVADA

15

16                                                      /s/ Gregory L. Zunino
                                                   GREGORY L. ZUNINO, ESQ.
17                                                    Deputy Solicitor General
                                          100 N. Carson Street
18                                        Carson City, NV 89701
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19                                        Attorneys for Defendant Nevada Secretary of
                                          State Barbara Cegavske
20
      DATED: October 26, 2020             OFFICE OF THE DISTRICT ATTORNEY,
21                                        CARSON CITY

22

23                                                      /s/ Benjamin Johnson
                                                   BENJAMIN JOHNSON, ESQ.
24                                        885 E. Musser St., Ste. 2030
                                          Carson City, NV 89701
25                                        Telephone: 775/887.2070
                                          Attorneys for Carson City Clerk-Recorder
26                                        Aubrey Rowlatt

27
                                SEE NEXT PAGE FOR ORDER
28

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     Case 3:20-cv-00515-MMD-WGC Document 26 Filed 10/26/20 Page 4 of 4




 1                                          ORDER

 2         IT IS SO ORDERED.

 3         DATED this ____ day of October, 2020.

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 5
                                                    UNITED STATES DISTRICT JUDGE
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